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 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
 3   Phoenix, AZ 85012
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     866 565 1327 facsimile
 5   mmeyers@AttorneysForConsumers.com
 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Frank Sapone,                      ) Case No.
10
                                        )
     Plaintiff,                         ) COMPLAINT AND TRIAL BY JURY
11                                      ) DEMAND
            vs.                         )
12
                                        )
13   Law Office of James R. Vaughn, PLLC)
     and RJF Financial, LLC,            )
14
                                        )
15   Defendants.                        )
16
                                       NATURE OF ACTION
17

18           1.    This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                                   JURISDICTION AND VENUE
21

22           2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23
     1331.
24
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25

26   the acts and transactions giving rise to Plaintiff’s action occurred in this district, where
27   Plaintiff resides in this district, and/or where Defendants’ transact business in this district.
28




                                               Complaint - 1
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 1                                            PARTIES
 2
            4.     Plaintiff, Frank Sapone (“Plaintiff”), is a natural person who at all relevant
 3

 4
     times resided in the State of Arizona, County of Pima, and City of Oro Valley.

 5          5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 6
            6.     Defendant, Law Office of James R. Vaughn (“JRV”) is an entity which all
 7

 8
     relevant times was engaged, by use of the mails and telephone, in the business of

 9   attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
10
            7.     JRV is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
11
            8.     Defendant, RJF Financial, LLC, (“RJF”) is an entity who acquires debt in
12

13   default merely for collection purposes, and who at all relevant times was engaged in the
14
     business of attempting to collect a debt from Plaintiff.
15
            9.     RJF is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
16

17                                 FACTUAL ALLEGATIONS
18
            10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
19
     owed or due, or asserted to be owed or due a creditor other than JRV.
20

21          11.    Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to be
22
     owed or due a creditor other than JRV, arises from a transaction in which the money,
23
     property, insurance, or services that are the subject of the transaction were incurred
24

25   primarily for personal, family, or household purposes.
26
            12.    Plaintiff incurred the obligation, or alleged obligation, owed or due, or
27
     asserted to be owed or due a creditor other than JRV.
28




                                              Complaint - 2
       Case 4:10-cv-00778-DCB Document 1 Filed 12/21/10 Page 3 of 5



 1          13.     JRV uses instrumentalities of interstate commerce or the mails in a business
 2
     the principal purpose of which is the collection of any debts, and/or regularly collects or
 3

 4
     attempts to collect, directly or indirectly, debts owed or due, or asserted to be owed or

 5   due another.
 6
            14.     RJF purchases debts once owed or once due, or asserted to be once owed or
 7

 8
     once due a creditor.

 9          15.     RJF acquired Plaintiff’s debt once owed or once due, or asserted to be once
10
     owed or once due a creditor, when the debt was in default.
11
            16.     RJF is thoroughly enmeshed in the debt collection business, and RJF is a
12

13   significant participant in JRV’s debt collection process.
14
            17.     Defendant JRV, itself and on behalf of Defendant RJF, falsely represented
15
     that Plaintiff owed an alleged debt in the amount of $3,082.89 that results from a credit
16

17   card account that was solely in Plaintiff’s wife’s name.
18
            18.     Plaintiff has at no time entered into a contract with regard to said credit
19
     card, which was obtained by Plaintiff’s spouse in Florida, a separate property state and
20

21   remained the separate property of Plaintiff’s wife upon Plaintiff and his wife moving to
22   the state of Arizona. (15 U.S.C. §§ 1692e(2)(A), 1692e(10)).
23
                            COUNT I—VIOLATIONS OF THE FDCPA
24                                  DEFENDANT JRV
25
            19.     Plaintiff repeats and re-alleges each and every allegation above.
26

27
            20.     Defendant JRV violated the FDCPA as detailed above.

28          WHEREFORE, Plaintiff prays for relief and judgment, as follows:



                                              Complaint - 3
     Case 4:10-cv-00778-DCB Document 1 Filed 12/21/10 Page 4 of 5



 1            a) Adjudging that JRV violated the FDCPA;
 2
              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
 3

 4
                 amount of $1,000.00;

 5            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 6
              d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
 7

 8
                 action;

 9            e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
10
                 allowed under the law;
11
              f) Awarding such other and further relief as the Court may deem just and
12

13               proper.
14
                       COUNT II—VIOLATIONS OF THE FDCPA
15                              DEFENDANT RJF
16

17      21.      Plaintiff repeats and re-alleges each and every allegation above.
18
        22.      Defendant RJF violated the FDCPA as detailed above.
19
        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
20

21            a) Adjudging that RJF violated the FDCPA;
22            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
23
                 amount of $1,000.00;
24

25            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

26            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
27
                 action;
28




                                           Complaint - 4
     Case 4:10-cv-00778-DCB Document 1 Filed 12/21/10 Page 5 of 5



 1            e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 2
                 allowed under the law;
 3

 4
              f) Awarding such other and further relief as the Court may deem just and

 5               proper.
 6
                                       TRIAL BY JURY
 7

 8
        23.      Plaintiff is entitled to and hereby demands a trial by jury.

 9

10
                 Respectfully submitted this 21st day of December, 2010
11
                                By: s/ Marshall Meyers
12
                                Marshall Meyers (020584)
13                              WEISBERG & MEYERS, LLC
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17                              Attorney for Plaintiff
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                                            Complaint - 5
